Case 1:05-cr-10050-.]DT Document 6 Filed 08/12/05 Page 1 of 2 Page|D 7

   

UNITED sTA'rEs DlsTRlCT CoURT flLED BY.__`___ D_C_
WESTERN I)ISTRICT oF TENNESSEE
Eastern Division 05 AUG lZ FH 2; 39
UNITED sTATEs oF AMERICA ins ,.,P ' ' adam
` ’?l€dra

-vs- Case No. 105cl‘]0{}51-{§{15I` l

DANNY BERNARD DAVIS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Couit has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofeounsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):
APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

DONE and ORDERED in l ll South Highland, Jackson, this /_’,2'& day ot`August,

S-”W~ data

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

2005.

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Offlce

Assistant Federal Public Defender
GLENN KEITH SNEAD

Thls document entered on the docket e eat in com llance
with Flule 55 andlor 32(b) FFlCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CR-10050 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

